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                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF NEW YORK

     LAURA BEDSON, individually and on
     behalf of all others similarly situated,


                           Plaintiff,                           CLASS ACTION COMPLAINT

     v.                                                         JURY TRIAL DEMANDED

     BIOSTEEL SPORTS NUTRITION INC.

                          Defendant.


           Plaintiff Laura Bedson (“Plaintiff”) brings this Class Action Complaint against Defendants

BioSteel Sports Nutrition Inc. (“Defendant” or “BioSteel”), individually and on behalf of all

others similarly situated, and complains and alleges upon personal knowledge as to herself and her

own acts and experiences and, as to all other matters, upon information and belief, including

investigation conducted by her attorneys:

                                        NATURE OF THE ACTION

           1.       Plaintiff brings this important consumer class action lawsuit on behalf of similarly

situated consumers (“Class Members”) who purchased for personal, family, or household use,

Defendant’s BioSteel Blue Raspberry flavored Sports Drink (the “Product”), which is marketed as

the “healthiest and most trusted sports hydration product[] on the planet,” 1 and is prominently

labeled as “Zero Sugar” and “Eco Friendly” when, in fact, Plaintiff’s testing has revealed that the

Product contains per- and polyfluoralkyl substances (“PFAS”), a category of synthetic chemicals

that are, by definition, not healthy for consumers or the environment.




1
    https://biosteel.com (Last Accessed January 24, 2023)

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        2.       PFAS are a group of synthetic, man-made, chemicals known to be harmful to both

humans and the environment. Because PFAS persist and accumulate over time, they are harmful

even at very low levels. Indeed, “PFAS have been shown to have a number of toxicological effects

in laboratory studies and have been associated with thyroid disorders, immunotoxicity effects, and

various cancers in epidemiology studies.” 2

        3.       In fact, scientists are studying—and are extremely concerned about—how PFAS

affect human health. Consequently, the CDC outlined “a host of health effects associated with

PFAS exposure, including cancer, liver damage, decreased fertility, and increased risk of asthma

and thyroid disease.” 3

        4.       Defendant formulates, manufactures, markets, and sells the Product, which they

uniformly represent as being made from “clean, quality ingredients,” “designed with sustainability

in mind,” and “good for [consumers] and the environment.” 4

        5.       Defendant’s marketing of the product as a healthy sports drink extends to the

Products’ packaging, where it cannot be missed by consumers:




2
 Nicholas J. Heckert, et al. “Characterization of Per- and Polyfluorinated Alkyl Substances
Present in Commercial Anti-fog Products and Their In Vitro Adipogenic Activity,” Environ. Sci.
Technol. 2022, 56, 1162-1173, 1162.
3
 Harvard T.H. Chan Sch. Of Pub. Health, Health Risks of widely used chemicals may be
underestimated (June 27, 2018), https://www.hsph.harvard.edu/news/hsph-in-the-news/pfas-
healthrisks-underestimated/ (last visited Aug. 15, 2022).
4
 https://biosteel.com/collections/sports-drinks/products/sports-drink-blue-raspberry-12-pack (Last Accessed January
25, 2023)

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       6.      Accordingly, reasonable consumers reasonably believe that the Product is a safe

and healthy sports drink.

       7.      Defendant clearly knows the importance of marketing and labeling, including the

value of the label representations they carefully choose for placement on the Product. Even beyond

its packaging, Defendant has engaged in extensive marketing efforts to inform consumers about

the health benefits of drinking the Product, including through high profile endorsement deals with

well-known professional athletes and partnerships with professional sports organizations such as

the National Hockey League.

       8.      Defendant’s uniform representations that the Product is a “clean” sports drink with

significant health benefits are purposefully designed to drive sales and increase profits, including

by targeting health-conscious consumers who reasonably believe that the Product is free from

chemical ingredients which are known to be harmful to human health.

       9.      However, despite Defendant’s consistent and pervasive marketing representations

to consumers that their Product is a healthy sports drink, Plaintiff’s independent testing has

determined that the Product actually contains PFAS—a category of man-made chemicals with a

toxic, persistent, and bioaccumulative nature which are associated with numerous health and

environmental concerns.


5
  https://www.amazon.com/dp/B08DP4R7WX/ref=redir_mobile_desktop?_encoding=UTF8&aax
itk=cbb05cac16bdedd7b898145fea180b1f&content-id=amzn1.sym.552bcbb2-81a1-4e8b-b868-
3fba7d5af42a%3Aamzn1.sym.552bcbb2-81a1-4e8b-b868-
3fba7d5af42a&hsa_cr_id=5294377530601&pd_rd_plhdr=t&pd_rd_r=15009445-593f-47d3-
b9fe-
ba703a25f7f9&pd_rd_w=bHQ47&pd_rd_wg=c4ZZ0&qid=1668628493&ref_=sbx_be_s_sparkl
e_lsi4d_asin_0_title&sr=1-1-9e67e56a-6f64-441f-a281-df67fc737124 (last accessed November
17, 2022).
6
  Id.
7
  Id.
                                                 6
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       10.     The presence of PFAS is entirely inconsistent with Defendant’s uniform

representations that the Product is clean, eco-friendly, and good for both consumers and the

environment.

       11.     As a result of Defendant’s misconduct, Plaintiff and putative Class Members have

suffered injury in fact, including economic damages.

       12.     Accordingly, Plaintiff brings his claims against Defendant individually and on

behalf of a Class of all other similarly situated for (1) violation of New York Gen. Bus. Law § 349,

et seq.; (2) violation of New York Gen. Bus. Law § 350, et seq.; (3) breach of express warranty;

(4) fraud; (5) constructive fraud; and (6) unjust enrichment.

                                            PARTIES

   A. Plaintiff

       13.     Plaintiff Laura Bedson is a resident of Queens, New York, and was, at all times

relevant hereto, a citizen of New York.

   B. Defendant

       14.     Defendant BioSteel Sports Nutrition Inc. is a Canadian Company with its

corporate headquarters in North York, Ontario, located at 90 Wingold Ave, M6B1P5. Defendant’s

products in the United States are manufactured in Buffalo, New York at 2299 Kenmore Avenue,

14207. Defendant is registered in New Jersey as a foreign profit corporation, entity number

010105185, and has a registered agent in New Jersey.

                                 JURISDCTION AND VENUE

       15.     This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C. §

1332 of the Class Action Fairness Act of 2005 because: (1) there are 100 or more proposed Class

Members, (ii) the aggregate amount in controversy exceeds $5,000,000.00, exclusive of interest



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and costs, and (iii) there is minimal diversity because a Plaintiff and Defendant are citizens of

different states.

        16.     This Court has personal jurisdiction over the Defendant because it transacts

business in this State and District, has substantial aggregate contacts with this State and District,

engaged in conduct that has and had a direct, substantial, reasonably foreseeable, and intended

effect of causing injury to persons in this State and District, and because they purposefully availed

themselves of the laws of the State of New York.

        17.     In accordance with 28 U.S.C. § 1391, venue is proper in this District because a

substantial part of the conduct giving rise to Plaintiff’s claims occurred in this District, including

Plaintiff’s purchase of the Product, because Defendant transacts substantial business in this

District, and because Defendant has intentionally availed themselves of the laws and markets

within this District.

                                  FACTUAL ALLEGATIONS

Defendant’s Business

        18.     Defendant manufactures and sells a variety of sports drinks, sports hydration mixes,

specialty nutrition products, and protein products under the BioSteel brand name.

        19.     BioSteel’s sports hydration drinks—including the Product at issue in this lawsuit--

are designed to provide optimal hydration through their use of electrolytes. These drinks are used

by professional and amateur athletes, and consumers-at-large, who are seeking the health and

performance benefits of increased hydration.

        20.     In the already crowded sports drink market, there is enormous incentive for

Defendant to differentiate itself from its competitors selling healthier and more environmentally

friendly products.



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           21.      In order to capitalize on consumer demand for “cleaner” sports drinks, Defendant

aggressively markets its products to health-focused consumers by positioning BioSteel as the

“better for you” hydration. 8

           22.      Defendant sells its products on its own website, and at mass market retailers and

grocery stores throughout the United States, including RiteAid, Vitamin Shoppe and CVS.

Defendant’s False and Deceptive Nutrition Claims

           23.      The Product is a ready-to-drink beverage that is uniformly represented as a sugar-

free sports hydration drink with various health and nutritional benefits, including claims that the

Product contains “essential electrolytes” including sodium, potassium, chloride, calcium, and

magnesium (the “Nutrition Claims”).

           24.      The Product’s front label informs consumer that the Product is “Zero Sugar” and

“Sugar Free.” 9




8
    https://biosteel.com/pages/about
9
    https://biosteel.com/collections/sports-drinks/products/sports-drink-blue-raspberry-12-pack

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       25.     The Product’s side panel touts its other nutritional benefits, including the fact that

it contains “Essential Electrolytes.”




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       26.     The Product’s other side panel lists its ingredients, which include water, electrolytes,

citric acid, natural flavors, and stevia leaf extract. Nothing about the ingredients lead the consumer

to believe it contains harmful PFAS chemicals.




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           27.       The BioSteel website further touts the health benefits of the Product, including the

fact that it is vegan, gluten free, and made from non-GMO ingredients 10:




Defendant’s Other False and Deceptive Advertising

           28.      Even beyond the Nutrition Claims described herein, Defendant makes various other

representations about the Product designed to convince reasonable consumers that the Product is

a safe and healthy choice for consumers and to further bolster its Nutrition Claims.




10
     https://biosteel.com/collections/sports-drinks/products/sports-drink-blue-raspberry-12-pack

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          29.    Defendant refers to the Product as “clean,” a term which reasonable consumers

understand to mean the Product does not contain ingredients which are known or suspected to be

harmful to human health or the environment. 11




          30.    Defendant’s uniform representations continue through to Defendant’s official

social media channels, including its verified Instagram account, which describes the brand as

“Clean. Healthy. Hydration.™”

          31.    In fact, Defendant has used the “Clean. Healthy. Hydration” throughout its

Instagram page as a marketing campaign while partnering with high profile stars such as Dallas

Mavericks Forward, Luka Doncic and Quarterback for the Kansas City Chiefs, Patrick

Mahomes. 12




11
     https://biosteel.com/ (Last accessed November 17, 2022).
12
     https://www.instagram.com/p/Ckylrb3vsLd/ (Last accessed November 17, 2022).
                                                 14
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         13



         32.   The Defendant also endorses the Product as one for families to enjoy, featuring an

image on its Instagram page of a child drinking the Product.




13


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         14



         33.    The Defendant also has many promotional videos on YouTube that reinforce the

“Clean. Healthy. Hydration” slogan.




         15




14
     https://www.instagram.com/p/CaPk1Kgu5Q7/ (Last Accessed November 17, 2022).
15


                                              16
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       34.    Defendant also employs various marketing representations to convince consumers

that the Product is good for the environment, including listing these benefits on the Product’s

packaging where they cannot be missed by consumers.




https://www.bing.com/videos/search?q=clean+healthy+hydration+biosteeel&docid=6080118188
10746090&mid=B23D6D4439EDEEFF269AB23D6D4439EDEEFF269A&view=detail&FOR
M=VIRE Last Accessed November 17, 2022).
                                              17
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         35.   The “Good for the Environment” marketing representations are also prominently

featured on Defendant’s official social media channels:




                                                                                                  16




         36.   Nowhere on the Product’s packaging, or in any of its marketing representations,

does Defendant disclose the presence of PFAS—or any other synthetic chemical—in the Product.

         37.   Defendant’s products are aggressively marketed to health-focused consumers,

owing in large part to the purported health benefits of drinking a clean sports drink without harmful

ingredients.

         38.   These uniform representations are no coincidence; even Defendant’s press releases

represent its products as providing “Clean. Healthy. Hydration.” 17 (emphasis in original).




16
  https://www.instagram.com/p/CaXPiveMkpJ/ (Last Accessed November 17, 2022).
17
  https://www.prnewswire.com/news-releases/biosteel-introduces-its-clean-healthy-hydration-
sports-drinks-to-nearly-15-000-new-stores-across-the-united-states-301470970.html (Last
Accessed November 17, 2022)
                                                 18
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         39.     It is undeniable that the Product is uniformly represented across all marketing

channels-- including the Product’s packaging, where it cannot be missed by consumers -- as a

sports drink with significant health benefits that is also good for the environment.

PFAS Chemicals and Associated Risks

         40.     PFAS are a category of highly persistent and potentially harmful man-made

chemicals. 18

         41.     PFAS are not naturally occurring. 19 They were first developed by scientists in the

1940s. 20 Thus, they are indisputably “artificial”.

         42.     The man-made PFAS chemicals, which are in the Product, are sometimes called

“forever chemicals” because they bioaccumulate, or build up in the body over time.

         43.     PFOA is well-known to negatively impact the human body and the environment,

including because “PFOA persists in the environment and does not break down.” 21

         44.     Further, “PFOA can remain in the body for long periods of time. In laboratory

animals given large amounts, PFOA can affect growth and development, reproduction, and injure

the liver.” 22

         45.     Given the deleterious effects of PFOA on the body and environment, it is one of

the most commonly studied 23 and commonly regulated.

         46.     A November 2012 research report on “Durable Water and Soil repellent chemistry

in the textile industry,” explained:


18
   PFAS Explained, EPA, https://www.epa.gov/pfas/pfas-explained (last visited October 24,
2022).
19
   https://www.atsdr.cdc.gov/pfas/resources/pfas-faqs.html (Last accessed October 24, 2022)
20
   https://www.3m.com/3M/en_US/pfas-stewardship-us/pfas-history/ (Last accessed October 24,
2022).
21
   https://www.cdc.gov/biomonitoring/PFOA_FactSheet.html
22
   Id.
23
   https://www.atsdr.cdc.gov/pfas/health-effects/overview.html
                                                 19
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           PFOA and PFOS, the most widely known and studied long-chain PFAAs, have
           been shown to be persistent in the environment, have long elimination half-life in
           wildlife and humans, and have toxicological properties of concern. Due to these
           properties, regulatory actions have been put in place or are being considered in
           several countries to manage these substances.

           47.     Consequently, “[t]he recognition of these hazardous properties and global

distribution has led the scientific, regulatory and industrial communities to engage in international

efforts to curb the production and uses of long-chain PFASs.” 24

           48.     In November 10, 2017, PFOA was added to the list of chemicals known to the state

of California to cause reproductive toxicity.

           49.     On March 19, 2021, the California Environmental Protection Agency’s Office of

Environmental Health Hazard Assessment (OEHHA) filed a notice of intent to list PFOA as a

chemical known to cause cancer under Proposition 65. 25 The OEHHA determined that PFOA

meets the criteria for listing as known to the state to cause cancer based on the 2020 findings of

the National Toxicology Program.

           50.     Diet is considered a major route of PFAS exposure for humans, and reasonable

consumers purchasing Product represented as not containing “artificial flavors” would not expect

them to contain harmful man-made chemicals, such as PFAS. 26

           51.     PFAS chemicals have been associated with a variety of negative health effects for

humans and the environment.




24
     Id.
25
     https://oehha.ca.gov/media/downloads/crnr/p65noilabpfoacancer2021p.pdf
26
  Dietary Habits Related to Food Packaging and Population Exposure to PFASs,
Environmental Health Perspectives, https://ehp.niehs.nih.gov/doi/full/10.1289/EHP4092 (Last
accessed October 24, 2022).
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         52.      The EPA has identified that “[c]urrent peer-reviewed scientific studies have shown

that exposure to certain levels of PFAS may lead to:” 27

               a. Reproductive effects such as decreased fertility or increased high blood
                  pressure in pregnant women.

               b. Developmental effects or delays in children, including low birth weight,
                  accelerated puberty, bone variations, or behavioral changes.

               c. Increased risk of some cancers, including prostate, kidney, and testicular
                  cancers.

               d. Reduced ability of the body’s immune system to fight infections, including
               e. reduced vaccine response.

               f. Interference with the body’s natural hormones.

               g. Increased cholesterol levels and/or risk of obesity.

         53.      A figure from the European Environmental Agency (“EEA”) shows the “[e]ffects

of PFAS on human health:” 28




27
   https://www.epa.gov/pfas/our-current-understanding-human-health-and-environmental-risks-
pfas
28
   Emerging chemical risks in Europe — ‘PFAS’, EUROPEAN ENVIRONMENT AGENCY (Dec. 12,
2019, last modified Mar. 9, 2021) https://www.eea.europa.eu/publications/emerging-chemical-
risks-in-europe.
                                                    21
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          54.   The EEA article further explained that “[p]eople most at risk of adverse health

impacts are those exposed to high levels of PFAS, and vulnerable population groups such as

children and the elderly.” 29

          55.   The danger of PFAS chemicals is well known. On September 20, 2020, a New York

Times article titled, “These Everyday Toxins May Be Hurting Pregnant Women and Their Babies”,

reported on the dangers of PFAS—particularly during gestation and in early childhood

development: 30


29
     Id.
30
      Liza Gross, These Everyday Toxins may be Hurting Pregnant Women and Their Babies, NEW
                                               22
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        56.     Scientists think these widely used industrial chemicals may harm pregnant women

and their developing babies by meddling with gene regulators and hormones that control two of

the body’s most critical functions: metabolism and immunity.31

        57.     The persistence of PFAS and their potential to cause environmental harm is also

well documented, and was addressed in “The Madrid Statement,” issued by the Green Science

Policy Institute. In this statement, more than 250 scientists from 38 countries, recommended the

following actions in order to mitigate future harm: (1) discontinuing use of PFAS where not

essential or safer alternatives exist; (2) labeling products containing PFAS; and (3) encouraging

retailers and individual consumers to avoid products containing or manufactured using PFAS

whenever possible. 32

        58.     The Environmental Protection Agency (“EPA”) further advises that limiting

exposure to PFAS can help protect individual health. “Because certain PFAS are known to cause

risks to human health, the most important steps you and your family can take to protect your health

is to understand how to limit your exposure to PFAS by taking [steps to] reduce possible exposure

during daily activities.” 33

        59.     There is no treatment to remove PFAS from the body. Because PFAS accumulates

in body tissues over time, the most obvious way to avoid exposure is for consumers to avoid

products which they know contain PFAS. 34


YORK         TIMES      (Sept.      23,     2020,      updated      Oct.       18,      2021)
https://www.nytimes.com/2020/09/23/parenting/pregnancy/pfas-toxins-chemicals.html.
31
   https://www.nytimes.com/2020/09/23/parenting/pregnancy/pfas-toxins-chemicals.html
32
   The Madrid Statement, GREEN SCIENCE POLICY INSTITUTE, https://greensciencepolicy.org/our-
work/science-policy/madrid-statement/
(Last accessed October 12, 2022)
33
   https://www.epa.gov/pfas/meaningful-and-achievable-steps-you-can-take-reduce-your-risk
(Last accessed October 24, 2022).
34
   https://www.healthline.com/health-news/how-to-reduce-your-exposure-to-pfas-the-hidden-
toxic-forever-chemicals#How-to-limit-PFAS-exposure (Last accessed October 24, 2022).
                                                23
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       60.     Defendant is well aware of consumers’ desire to avoid potentially harmful

chemicals, which is exactly why it has engaged in an aggressive, uniform marketing campaign

intended to convince consumers that the Product is “clean,” and therefore free from potentially

harmful ingredients like PFAS.

       61.     Defendant has engaged in this uniform marketing campaign in an effort to convince

reasonable consumers to believe that the Product is superior to other products that are not “clean”

or do not have the same purported health benefits.

       62.     Reasonable consumers purchasing the Product would believe, based on

Defendant’s representations, that the Product does not contain artificial, synthetic or man-made

chemicals that could adversely impact their health.

Plaintiff’s Independent Testing Confirms the Presence of PFAS Chemicals in the Product

       63.     Plaintiff sought independent third-party testing to determine whether the Product

contained PFAS chemicals.

       64.     Plaintiff’s independent testing was conducted in accordance with accepted industry

standards for detecting the presence of PFAS.

       65.     Plaintiff’s testing detected material levels of PFAS in the Product, including

significant levels of 1H, 1H, 2H, 2H-perfluorooctane sulfonic acid (“6:2FTS”), Perfluoro-n-

decanoic acid (“PFDA”), Perfluoro-n-decanoic acid (“PFHpA”), Perfluoro-n-nonanoic acid

(“PFNA”), Perfluoro-n-octanoic acid (“PFOA), and Perfluoro-n-undecanoic acid (“PFUdA”).

       66.     Thus, Defendant’s Product exposes hundreds of thousands of unsuspecting

consumers to toxic synthetic chemicals in direct contradiction to their uniform label claims.

       67.     While the EPA has not yet established guidance for the presence of 6:2FTS, PFDA,

PFHpA, PFNA, and PFUdA in drinking water, it recently confirmed that the levels at which



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negative health effects could occur are from exposure to certain PFAS chemicals is much lower

than previously understood– including near zero in some cases. 35

           68.   The EPA recently tightened its lifetime health advisory levels for PFOA exposure

in drinking water. For PFOA, the recommendation is 0.004 part per trillion (ppt). 36

           69.   The amount of PFOA found within the Product from Plaintiff’s testing exceeds the

amount of PFOA permitted in water by the EPA.

Defendant’s Unlawful Conduct

           70.   At all times relevant to this action, Defendant knew, or at minimum should have

known, that its Product contains PFAS.

           71.   To capitalize on increasing consumer demand for “clean” and environmentally

safe products that are free from harmful man-made chemicals like PFAS, Defendant has

knowingly and willfully deployed a concerted strategy to distinguish its Product from competing

options in the highly competitive sports drink industry by representing the Product using the

Nutrition Claims and other misrepresentations and omissions as described herein.

           72.   Throughout the class period, Defendant has targeted health-conscious consumers

by falsely and misleadingly representing its Product as a healthy, safe, “clean” sports beverage

free from harmful artificial ingredients and added sugar. Consequently, reasonable consumers

believe the Product is free of artificial, man-made chemicals known to harm human health.

           73.   Defendant is well-aware that consumers are increasingly demanding beverage

options that support their wellness goals. In their own words, “BioSteel is seeing its story come

full circle from its authentic hockey roots as the brand continues to cement itself as the go-to sports




35
     Id.
36
     Id.
                                                  25
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drink for those seeking a cleaner, healthier hydration option.” 37

         74.    Defendant’s wellness-focused business strategy is supported by current market

research. According to a recent survey, chemicals in food (including carcinogens or cancer-

causing chemicals) represents the most important food safety issue to consumers. 38 Consumers

ranked this concern more highly than any other concern, including foodborne illness from bacteria

and use of pesticides. 39

         75.    At the same time, awareness of, and an inclination toward, safer products is guiding

consumer choices. One survey, for instance, found that “when asked to choose the top three factors

they prioritize when deciding between products, the majority of consumers surveyed said they

prioritize the health/safety of products (71%) and products free of certain toxic chemicals (70%).” 40

         76.    These findings extend to the packaging of products, with 82% of consumers

agreeing that “it is important for brands to balance safety and concern for the environment when

designing product packaging.” 41

         77.    Additionally, “[t]he majority of shoppers . . . are willing to spend more for a product

they know is safer, with 42% willing to spend 5-15% more, 36% willing to spend 16-25% more,

and 17% willing to spend 1-5% more.” 42



37
   https://www.nhl.com/news/biosteel-named-official-hydration-partner-of-nhl-nhlpa/c-
334812110 (Last Accessed November 17, 2022).
38
    Tom Neltner, “Chemicals in food continue to be a top food safety concern among consumers,”
(Sept. 16, 2021), https://blogs.edf.org/health/2021/09/16/chemicals-in-food-continue-to-be-a-
topfood-safety-concern-among-consumers/ (last visited Aug. 12, 2021).
39
    Id.
40
    Made Safe, “What Shoppers Want: Safe & Healthy Products,”
https://www.madesafe.org/wpconent/uploads/2017/07/What-Shoppers-Want.pdf (last visited
Aug. 12, 2022).
41
    Gray, “New Consumer Packaging Trends Are Changing the Game for Food & Beverage
Processors,” https://www.gray.com/insights/new-consumer-packaging-trends-are-changing-
thegame-for-food-beverage-processors/ (last visited Aug. 12, 2022).
42
    Made Safe, “What Shoppers Want,” at 3.
                                                  26
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           78.   Therefore, current research demonstrates, and Defendant’s marketing strategy

supports, that the presence of harmful chemicals in food, beverages, and their packaging is material

to reasonable consumers.

           79.   Defendant’s strategy to stay aligned with consumer preferences in order to retain

a competitive advantage in the marketplace, which includes representing to sell “clean”

beverages which do not contain ingredients which are suspected to cause harm to human health

and the environment, would inevitably be negatively impacted if it disclosed the presence of

PFAS in its Product.

           80.   Further, Defendant’s claims touting its Product as the “healthiest” and “most

trusted” sports hydration product on the planet, further contribute to the reasonable consumer

perception and belief that the Product contains only ingredients that are good for humans and the

environment, and that it is free of man-made chemicals indisputably linked to negative health

effects.

           81.   Consumers lack the expertise to ascertain the true ingredients in the Product prior

to purchase. Accordingly, reasonable consumers must, and do rely on Defendant to accurately

and honestly advertise its Product’s ingredients and health benefits. Further, consumers rely on

Defendant to not contradict those representations by using artificial man-made chemicals in its

Product that are known to pose a risk to human health. Such misrepresentations are material to

reasonable consumers’ purchasing decisions.

           82.   Defendant’s representations that the Product is healthy for humans and the

environment, including inter alia, the representations described herein, are false because products

containing toxic, man-made ingredients like PFAS are neither good for consumers nor the

environment.



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       83.     Defendant’s representations are likely to mislead reasonable consumers, and indeed

did mislead Plaintiff and Class members, regarding the presence of PFAS chemicals in its Product.

Accordingly, these acts and practices by Defendant are deceptive.

       84.     Consumers reasonably relied on Defendant’s false statements and misleading

representations, and reasonably expected that Defendant’s Product would conform with its

representations and, as such, would not contain artificial, man-made PFAS chemicals.

       85.     Defendant’s false statements, misleading representations and material omissions

are intentional, or otherwise entirely careless, and render its Product worthless or less valuable.

       86.     If Defendant had disclosed to Plaintiff and putative Class Members that its Product

contained PFAS chemicals, Plaintiff and putative Class Members would not have purchased

Defendant’s Product or they would have paid less for them.

       87.     Plaintiff and Class Members were among the intended recipients of Defendant’s

deceptive representations and omissions described herein.

       88.     Defendant’s representations and omissions, as described herein, are material in

that a reasonable person would attach importance to such information and would be induced to

act upon such information in making purchase decisions.

       89.     The materiality of the representations described herein also establishes causation

between Defendant’s conduct and the injuries Plaintiff and the Class Members sustained.

       90.     Defendant is aware that the consumers are concerned about the use of PFAS in its

products, yet it has continued to market and advertise its Product using the health-focused Nutrition

Claims and other representations described herein in order to profit off of unsuspecting consumers,

including Plaintiff and Class Members.




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       91.     The presence of PFAS chemicals in Defendant’s Product is entirely inconsistent

with its uniform representations.

       92.     Defendant’s knowingly false and misleading representations have the intended

result of convincing reasonable consumers that its Product is “clean” and therefore does not

contain artificial, man-made, toxic chemicals. No reasonable consumer would consider

Defendant’s Product as clean, or good for people and the environment, if they knew that the

Product contained harmful, artificial PFAS chemicals.

       93.     Defendant’s false, misleading, and deceptive representations, as described herein,

are likely to continue to deceive and mislead reasonable consumers and the general public.

Indeed, they have already deceived and misled Plaintiff and Class Members.

       94.     In making the false, misleading, and deceptive representations, Defendant knew

and intended consumers would pay a premium for the Product over comparable products that

are made from or contain synthetic or artificial ingredients.

       95.     Plaintiff and Class Members all paid money for the Product, however, they did

not obtain the full value of the advertised Product due to Defendant’s misrepresentations as

detailed herein. Plaintiff and Class Members purchased, purchased more of, or paid more for,

the Product than they would have had they known the truth about the Product’s artificial, man-

made, and harmful ingredients. Thus, Plaintiff and Class Members have suffered injury in fact

and lost money or property as a result of Defendant’s wrongful conduct.

       96.     Defendant’s widespread marketing campaign portraying the Product as

containing healthy ingredients as detailed herein, is misleading and deceptive to consumers

because the Product is made with artificial, man-made, and toxic ingredients. Plaintiff brings

this action on behalf of the proposed Classes to stop Defendant’s misleading practices.



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                         PLAINTIFF’S FACTUAL ALLEGATIONS

       97.     Plaintiff Laura Bedson is a citizen and resident of the state of New York. During

the applicable statute of limitations period, Plaintiff purchased and consumed Defendant’s Product

that contained PFAS. More specifically, during the class period Plaintiff purchased Defendant’s

Product numerous times online from amazon.com while living in Queens, New York.

       98.     Prior to her purchase, Plaintiff reviewed the labeling, packaging, and marketing

materials of her Product, including those set out herein, including the Nutrition Claims and other

representations set out herein. Thus, Plaintiff understood that based on Defendant’s claims, the

Product was safe for use and was free of harmful, man-made chemicals like PFAS. Plaintiff

reasonably relied on these representations and warranties in deciding to purchase the Product, and

these representations were part of the basis of the bargain in that she would not have purchased

the Product, or would not have purchased it on the same terms, if the true facts had been known.

       99.     As a direct result of Defendant’s material misrepresentations and omissions,

Plaintiff suffered and continues to suffer, economic injuries.

       100.    Plaintiff continues to desire to purchase the Product from Defendant if she can rely

on that Product to be safe and free from any artificial ingredients, including those known to pose

a risk to human health. However, concerned about the health consequences of PFAS and

Defendant’s misrepresentations detailed herein, Plaintiff is unable to determine if Defendant’s

Product is actually free of harmful chemicals like PFAS in the future. Plaintiff understands that

the composition of the Product may change over time, but as long as Defendant may freely

advertise the Product as safe or healthy when it actually contains material levels of PFAS, then

when presented with false or misleading information when shopping, she will be unable to make

informed decisions about whether to purchase Defendant’s Product and will be unable to evaluate



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the different prices between Defendant’s Product and competitor’s products, which do in fact

contain only clean and healthy ingredients and are free of PFAS.

   INJURY TO THE PUBLIC AT-LARGE AND POTENTIAL FOR FUTURE HARM

          101.   Defendant’s wrongful conduct harms the public-at-large.

          102.   PFAS chemicals, also known as “forever chemicals,” are a category of highly

persistent and toxic man-made chemicals that have been associated with numerous negative health

effects for humans.

          103.   PFAS chemicals are known to negatively impact the human body, including, but

not limited to, decreased fertility, developmental effects or delays in children, increased risk of

cancers, liver damage, increased risk of asthma and thyroid disease, adverse impacts on the

immune system, interference with hormones and increased cholesterol levels.

          104.   PFAS chemicals are further known to negatively impact the environment,

          105.   Because Defendant’s deceptive advertising is ongoing and directed to the public,

and because Defendant continues to sell its Product containing PFAS chemicals, the deception

poses an ongoing risk to the public.

          106.   As such, a public injunction must be provided in order to enjoin Defendant’s

continued harm of consumers and the public-at-large.

                 TOLLING AND ESTOPPEL OF STATUTE OF LIMITATIONS

          107.   Defendant had actual knowledge, or should have had actual knowledge, that its

Product contained artificial, man-made PFAS chemicals which pose a risk of harm to human

health.

          108.   Although Defendant was aware of the deception in their advertising, marketing,

packaging, and sale of the Product given the inclusion of PFAS chemicals, it took no steps to

disclose to Plaintiff or Class Members that its Product contained PFAS chemicals.

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       109.    Despite its knowledge, Defendant has fraudulently misrepresented the Product as

having qualities and characteristics it does not, while concealing the fact that its Product contains

PFAS chemicals.

       110.    Defendant has made, and continues to make, affirmative false statements and

misrepresentations to consumers, and continues to omit the fact that the Product contains PFAS,

to promote sales of its Product.

       111.    Defendant has misrepresented, concealed, and otherwise omitted material facts that

would have been important to Plaintiff and Class Members in deciding whether to purchase the

Product. Defendant’s misrepresentations and omissions were knowing, and it intended to, and did,

deceive reasonable consumers, including Plaintiff and Class Members. Accordingly, Plaintiff and

Class Members reasonably relied upon Defendant’s misrepresentations and concealment of these

material facts and suffered injury as a proximate result of that justifiable reliance.

       112.    The PFAS chemicals in the design and/or manufacture of Defendant’s Product was

not reasonably detectible to Plaintiff and Class Members.

       113.    At all times, Defendant actively and intentionally misrepresented the qualities and

characteristics of the Product, while concealing the existence of the PFAS chemicals and failing

to inform Plaintiff or Class Members of the existence of the PFAS chemicals in its Product.

Accordingly, Plaintiff’s and Class Members’ lack of awareness was not attributable to a lack of

diligence on their part.

       114.    Defendant’s statements, words, and acts were made for the purpose of deceiving

the public, and suppressing the truth that the Product contained artificial, man-made PFAS

chemicals.




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       115.    Defendant misrepresented the Product and concealed the PFAS chemicals for the

purpose of delaying Plaintiff and Class Members from filing a complaint on their causes of action.

       116.    As a result of Defendant’s intentional misrepresentations and active concealment

of the PFAS chemicals and/or failure to inform Plaintiff and Class Members of the PFAS

chemicals, any and all applicable statutes of limitations otherwise applicable to the allegations

herein have been tolled. Furthermore, Defendant is estopped from relying on any statutes of

limitations in light of its intentional misrepresentations and active concealment of the inclusion of

artificial, man-made PFAS chemicals in the Product.

       117.    Further, the causes of action alleged herein did not occur until Plaintiff and Class

Members discovered that the Product contained PFAS chemicals. Plaintiff and Class Members had

no realistic ability to discern that the Product contained PFAS chemicals until they learned of the

existence of the PFAS chemicals. In either event, Plaintiff and Class Members were hampered in

their ability to discover their causes of action because of Defendant’s active concealment of the

existence and true nature of the Product.

                    FEDERAL RULE OF CIVIL POROCEDURE 9(b) ALLEGATIONS

       118.    Although Defendant is in the best position to know what content it placed on its

packaging, website(s), and other marketing and advertising during the relevant timeframe, and the

knowledge that it had regarding the PFAS chemicals and its failure to disclose the existence of

PFAS chemicals in the Product to Plaintiff and consumers, to the extent necessary, Plaintiff

satisfies the requirements of Rule 9(b) by alleging the following facts with particularity:

       119.    WHO: Defendant made its Nutrition claims and other health and environmentally-

focused representations on the Product’s packaging, online, and its marketing and advertising of

the Product.



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       120.    WHAT: Defendant’s conduct here was, and continues to be, deceptive and

fraudulent because of its Nutrition claims and other health and environmentally-focused

representations . Thus, Defendant’s conduct deceived Plaintiff and Class Members into believing

that the Product was manufactured and sold with the represented qualities. Defendant knew or

should have known this information is material to reasonable consumers, including Plaintiff and

Class Members in making their purchasing decisions, yet it continued to pervasively market the

Product as possessing qualities they do not have.

       121.    WHEN: Defendant made material misrepresentations, false statements and/or

material omissions during the putative Class periods and at the time Plaintiff and Class Members

purchased the Product, prior to and at the time Plaintiff and Class Members made claims after

realizing the Product contained artificial, man-made chemicals, and continuously throughout the

applicable Class periods.

       122.    WHERE: Defendant’s marketing message was uniform and pervasive, carried

through false statements, misrepresentations, and/or omissions on the Product’s packaging, as well

as on website(s) and social media channels used to market and advertise the Product.

       123.    HOW: Defendant made false statements, misrepresentations and/or material

omissions regarding the presence of PFAS chemicals in the Product.

       124.    WHY: Defendant made the false statements, misrepresentations and/or material

omissions detailed herein for the express purpose of inducing Plaintiff, Class Members, and all

reasonable consumers to purchase and/or pay for the Product over other brands that did not make

similar Nutrition Claims and other health and environment-focused representations, the effect of

which was that Defendant profited by selling the Product to many thousands of consumers.




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       125.    INJURY: Plaintiff and Class Members purchased, paid a premium, or otherwise

paid more for the Product when they otherwise would not have, absent Defendant’s

misrepresentations, false and misleading statements.

                              CLASS ACTION ALLEGATIONS

       126.    Plaintiff brings this action individually and as the representative of all those

similarly situated pursuant to Rule 23 of the Federal Rules of Civil Procedure, on behalf of the

below-defined Classes:

               National Class: During the fullest period allowed by law, all persons who
               purchased the Product within the United States for personal use and not for
               resale.

               New York Subclass: During the fullest period allowed by law, all persons who
               purchased the Product within the State of New York for personal use and not
               for resale.

       127.    Members of the classes described are referred to herein as “Class Members” or

members of the “Class.”

       128.    Plaintiff reserves the right to amend the Class definitions or add a Class or Classes

if discovery and/or further investigation reveal that the Class definition(s) should be narrowed,

expanded or otherwise modified.

       129.    The following are excluded from the Class: (1) any Judge presiding over this action

and members of his or her family; (2) Defendant, Defendant’s subsidiaries, parents, successors,

predecessors, and any entity in which Defendant or its parents have a controlling interest (as well

as current or former employees, officers, and directors); (3) persons who properly execute and file

a timely request for exclusion from the Class; (4) persons whose claims in this matter have been




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finally adjudicated on the merits or otherwise released; (5) Plaintiff’s counsel and Defendant’s

counsel; and (6) the legal representatives, successors, and assigns of any such excluded persons.

       130.     Numerosity – Federal Rule of Civil Procedure 23(a)(a): While Plaintiff does not

know at this time the exact number of proposed Class Members, given the nature of the claims and

the volume of sales of the Product nationally, the members of the Class are so numerous that their

individual joinder herein is impracticable. Plaintiff is informed and believes that there are tens of

thousands of members in the proposed Class, if not more, and a precise number can be ascertained

through discovery. The number of individuals who comprise the Class are so numerous that the

disposition of all such person’s claims in a class action, rather than in individual actions, will

benefit both the parties and the courts.

       131.     Commonality and Predominance – Federal Rule of Civil Procedure 23(a)(2)

and 23(b)(3): Common questions of law and fact exist as to all members of each of the Class and

predominate over questions affecting only individual members of the Class. Such common

questions of law or fact include, but are not limited to, the following:

           a.      Whether Defendant misrepresented, omitted, and/or failed to
                   disclose material facts concerning the Product;
           b.      Whether Defendant’s conduct was unlawful; unfair; fraudulent
                   and/or deceptive;
           c.      Whether Defendant breached express warranties to Plaintiff and
                   Class Members;
           d.      Whether Defendant was unjustly enriched as a result of the unlawful
                   conduct alleged herein such that it would be inequitable for
                   Defendant to retain the benefits conferred upon it by Plaintiff and
                   the proposed Class;
           e.      Whether Plaintiff and the Class have sustained damages with respect
                   to the claims asserted, and if so, the proper measure of their
                   damages.

       Defendant engaged in a common course of conduct giving rise to the legal rights Plaintiff

seeks to enforce on behalf of himself and the other Members of the proposed Class. Similar or

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identical statutory and common law violations, business practices, and injuries are involved.

Individual questions, if any, pale in comparison, in both quality and quantity, to the numerous

common questions that dominate this action.

       132.    Typicality – Federal Rule of Civil Procedure 23(a)(3). Plaintiff’s claims are

typical of the claims of the other Members of the Class because, among other things, all Members

of the Class were comparably injured through Defendant’s uniform misconduct described herein.

Further, there are no defenses available to Defendant that are unique to Plaintiff or to any particular

Members of the Class.

       133.    Adequacy of Representation – Federal Rule of Civil Procedure 23(a)(4).

Plaintiff is an adequate Class representative because his interests do not conflict with the interests

of the other Members of the Class he seeks to represent; he has retained counsel competent and

experienced in complex class action litigation; and he will prosecute this action vigorously. The

interests of the Class will be fairly and adequately protected by Plaintiff and the undersigned

counsel.

       134.    Insufficiency of Separate Actions – Federal Rule of Civil Procedure 23(b)(1).

Absent a representative class action, Members of the Class would continue to suffer the harm

described herein, for which they would have no remedy. Even if separate actions could be brought

by individual consumers, the resulting multiplicity of lawsuits would cause undue burden and

expense for both the Court and the litigants, as well as create a risk of inconsistent rulings and

adjudications that might be dispositive of the interests of similarly situated purchasers,

substantially impeding their ability to protect their interests, while establishing incompatible

standards of conduct for Defendant. The proposed Classes thus satisfy the requirements of Fed.

R. Civ. P. 23(b)(1).



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        135.    Superiority – Federal Rule of Civil Procedure 23(b)(3). A class action is superior

to any other available means for the fair and efficient adjudication of this controversy, and no

unusual difficulties are likely to be encountered in the management of this class action. The

damages or other financial detriment suffered by Plaintiff and the other Members of the Class are

relatively small compared to the burden and expense that would be required to individually litigate

their claims against Defendant, so it would be impracticable for Members of the Class to

individually seek redress for Defendant’s wrongful conduct. Even if Members of the Class could

afford individual litigation, the court system could not. Individualized litigation would create a

potential for inconsistent or contradictory judgments and increase the delay and expense to all

parties and the court system. By contrast, the class action device presents far fewer management

difficulties, and provides the benefits of single adjudication, economy of scale, and comprehensive

supervision by a single court.

                                       CAUSES OF ACTION

                                                COUNT I
                   Violation of the New York Deceptive Trade Practices Act,
                             New York Gen. Bus. Law § 349, et seq.
                         (Plaintiff on behalf of the New York Subclass)

        136.    Plaintiff repeats and re-alleges the allegations above as if set forth herein.

        137.    The New York General Business Law Section 349 (“GBL § 349”) declares

unlawful “[d]eceptive acts or practices in the conduct of any business, trade, or commerce or in

the furnishing of any service in this state . . .”

        138.    Defendant misleadingly, inaccurately, and deceptively advertises and markets their

Product to consumers.

        139.    Defendant’s improper consumer-oriented conduct—including labeling and

advertising the Product using the Nutrition Claims and other health and environmental-focused


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representations as described herein —is misleading in a material way in that it, inter alia, induced

Plaintiff and the New York Subclass Members to purchase and pay a premium for Defendant’s

Product and to use the Product when they otherwise would not have. The Defendant has made the

untrue and/or misleading statements, omissions, and representations willfully, wantonly, and with

reckless disregard for the truth.

       140.    Plaintiff and the New York Subclass Members have been injured inasmuch as they

paid a premium for a Product that was—contrary to Defendant’s representations— not free of

artificial ingredients and did contain dangerous levels of the man-made chemical PFAS.

Accordingly, Plaintiff and the New York Subclass Members received less than what they

bargained and/or paid for.

       141.    Defendant’s advertising and Product’s packaging and labeling induced Plaintiff and

the New York Subclass Members to buy Defendant’s Product and to pay a premium price.

       142.    Defendant’s deceptive and misleading practices constitute a deceptive act and

practice in the conduct of business in violation of New York General Business Law §349(a) and

Plaintiff and the New York Subclass Members have been damaged thereby.

       143.    As a result of Defendant’s recurring, “unlawful” deceptive acts and practices,

Plaintiff and the New York Subclass Members are entitled to monetary, statutory, compensatory,

treble and punitive damages, restitution, and disgorgement of all moneys obtained by means of

Defendant’s unlawful conduct, interest, and attorneys’ fees and costs.

       144.    In addition, Plaintiff and Class Members seek equitable and injunctive relief against

Defendant on terms that the Court considers reasonable, and reasonable attorneys’ fees and costs.

       145.    Finally, Defendant’s conduct showed malice, motive, and the reckless disregard of

the truth such that an award of punitive damages is appropriate.



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                                         COUNT II
                  Violation of the New York Deceptive Trade Practice Act,
                           New York Gen. Bus. Law § 350, et seq.
                       (Plaintiff on behalf of the New York Subclass)

       146.    Plaintiff repeats and re-alleges the allegations above as if set forth herein.

       147.    The N.Y. Gen. Bus. Law § 350 provides, in part, as follows:

               False advertising in the conduct of any business, trade, or commerce or in
               the furnishing of any service in this state is hereby declared unlawful.

       148.    N.Y. Gen. Bus. Law § 350a(1) provides, in part, as follows:

               The term ‘false advertising, including labeling, of a commodity, or of the
               kind, character, terms or conditions of any employment opportunity if such
               advertising is misleading in a material respect. In determining whether any
               advertising is misleading, there shall be taken into account (among other
               things) not only representations made by statement, word, design, device,
               sound or any combination thereof, but also the extent to which the
               advertising fails to reveal facts material in the light of such representations
               with respect to the commodity or employment to which the advertising
               relates under the conditions proscribed in said advertisement, or under such
               conditions as are customary or usual . . .

       149.    Defendant’s labeling and advertisements contain untrue and materially misleading

statements and omissions concerning Defendant’s Product inasmuch as they misrepresent that the

Product is a healthy, clean, and environmentally friendly sports drink that is good for consumers.

       150.    Plaintiff and the New York Subclass Members have been injured inasmuch as they

relied upon the labeling, packaging, and advertising and paid a premium for the Product which

were—contrary to Defendant’s representations—and did contain dangerous levels of PFAS.

Accordingly, Plaintiff and the New York Subclass Members received less than what they

bargained and/or paid for.

       151.    Defendant’s advertising, packaging, and Product’s labeling induced Plaintiff and

the New York Subclass Members to buy Defendant’s Product.




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       152.    Defendant made the untrue and/or misleading statements, omissions, and

representations willfully, wantonly, and with reckless disregard for the truth.

       153.    Defendant’s conduct constitutes multiple, separate violations of N.Y. Gen. Bus.

Law § 350.

       154.    Defendant made the material misrepresentations described in this Complaint in

Defendant’s advertising and on the Product’s packaging and labeling.

       155.    Defendant’s material misrepresentations were substantially uniform in content,

presentation, and impact upon consumers at large. Moreover, all consumers purchasing the

Product were and continue to be exposed to Defendant’s material misrepresentations.

       156.    As a result of Defendant’s recurring, “unlawful” deceptive acts and practices,

Plaintiff and New York Subclass Members are entitled to monetary, statutory, compensatory,

treble and punitive damages, restitution, and disgorgement of all moneys obtained by means of

Defendant’s unlawful conduct, interest, and attorneys’ fees and costs.

       157.    In addition, Plaintiff and Class Members seek equitable and injunctive relief against

Defendant on terms that the Court considers reasonable, and reasonable attorneys’ fees and costs.

       158.    Finally, Defendant’s conduct showed malice, motive, and the reckless disregard of

the truth such that an award of punitive damages is appropriate.

                                          COUNT III
                                             Fraud
                               (Plaintiff On Behalf of the Class)

       159.    Plaintiff repeats and re-alleges the allegations above as if set forth herein.

       160.    At the time Plaintiff and Class Members purchased the Product, Defendant did

not disclose, but instead concealed and misrepresented, the Product as safe.




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       161.    Defendant affirmatively misrepresented the nature and quality of the Product,

giving the Product the appearance of being safe for human consumption.

       162.    Defendant also knew that its omissions and misrepresentations regarding the

Product were material, and that a reasonable consumer would rely upon Defendant’s

representations (and corresponding omissions) in making purchasing decisions.

       163.    Defendant possessed superior knowledge as Plaintiff and Class Members did not

know—nor could they have known through reasonable diligence—about the true nature of the

Product.

       164.    Plaintiff and Class Members were reasonable in relying on Defendant’s

misrepresentations (and corresponding omissions) in making their purchasing decisions.

       165.    Plaintiff and Class Members had a right to reply upon Defendant’s representations

(and corresponding omissions) as Defendant maintained exclusive control over knowledge of the

true quality of the Product.

       166.    Plaintiff and Class Members sustained damages as a result of their reliance on

Defendant’s omissions and misrepresentations, thus causing Plaintiff and Class Members to

sustain actual losses and damages in a sum to be determined at trial.

       167.    Additionally, as a result of Defendant’s willful and malicious conduct, punitive

damages are warranted.

                                           COUNT IV
                                      Constructive Fraud
                               (Plaintiff On Behalf of the Class)

       168.    Plaintiff repeats and re-alleges the allegations above as if set forth herein.

       169.    At the time Plaintiff and Class Members purchased the Product, Defendant falsely

represented the product using the Nutrition Claims and other health and environmental-focused



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claims as described herein, and did not disclose that the Product contains dangerous levels of

PFAS.

          170.   Defendant affirmatively misrepresented the nature of the Product, giving the

Product the appearance of being healthy, and otherwise safe for human consumption as detailed

herein.

          171.   Defendant also knew that its omissions and misrepresentations regarding the

Product were material, and that a reasonable consumer would rely upon its representations (and

corresponding omissions) in making purchasing decisions.

          172.   Defendant had an obligation not to omit or misrepresent the Product because in

addition to the fact that the Product pertained to matters of safety: (a) it was in the sole possession

of such information; (b) it made partial representations regarding the quality of the Product; (c)

Plaintiff and the Class Members relied upon Defendant to make full disclosures based upon the

relationship between Plaintiff and Class Members, who relied on Defendant’s representations and

omissions, and were reasonable in doing so, with the full knowledge of Defendant that it did and

would have been reasonable in doing so.

          173.   Plaintiff and Class Members did not know—nor could they have known through

reasonable diligence—about the true nature and quality of the Product.

          174.   Plaintiff and Class Members were reasonable in relying on Defendant’s

misrepresentations (and corresponding omissions) in making their purchasing decisions.

          175.   152. Plaintiff and Class Members had a right to rely upon Defendant’s

representations (and corresponding omissions) as, in addition to the fact that the issue pertained to

safety, Defendant maintained exclusive control over knowledge of the true quality of the Product,

and what information was available regarding the Product.



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       176.    Defendant breached their duty to Plaintiff and Class Members to make full

disclosures of the safety of their Product.

       177.    Plaintiff and Class Members sustained actual losses and damages as a result of their

reliance on Defendant’s omissions and misrepresentations, and Defendant’s breach of its duty, in

a sum to be determined at trial.

                                           COUNT V
                                       Unjust Enrichment
                         (In the Alternative and on Behalf of the Class)

       178.    Plaintiff repeats and re-alleges the allegations above as if set forth herein.

       179.    At all relevant times, Defendant was responsible for designing, constructing,

testing, manufacturing, inspecting, distributing, labeling, marketing, advertising, and/or selling the

Product and its packaging. At all relevant times, it was reasonably foreseeable by Defendant that

the use of the Product in its intended manner involved substantial risk of injury and was

unreasonably dangerous to Plaintiff and the Class as the ultimate users of the Product.

       180.    At all relevant times, Defendant knew or had reason to know of the risk of injury

and the resultant harm that the Product posed to Plaintiff and Class Members, as the Defect existed

at the time of its design, construction, manufacture, inspection, distribution, labeling, marketing,

advertising, and/or sale, as described herein.

       181.    Defendant as the designer, manufacturer, tester, distributor, marketer, advertiser,

and/or seller of the Product, had a duty to warn Plaintiff and the Class of all dangers associated

with consumption of the Product.

       182.    At minimum, the duty arose for Defendant to warn consumers that use of the

Product could result in injury and was unreasonably dangerous.




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       183.    Defendant has been unjustly enriched in retaining the revenues derived from the

purchases of the Product by Plaintiff and the other members of the Class. Retention of those

monies under these circumstances is unjust and inequitable because Defendant’s representations

regarding the quality or value of the Product were misleading to consumers, which caused injuries

to Plaintiff and the other members of the Class, because they would have not purchased the Product

had they known the truth or would only have purchased the Product for a lower price.

       184.    Because Defendant’s retention of the non-gratuitous benefits conferred on it by

Plaintiff and the other members of the Class is unjust and inequitable, Defendant must pay

restitution to Plaintiff and the other members of the Class for its unjust enrichment, as ordered by

the Court.

                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, individually and on behalf of all other similarly situated

 members of the Class, prays for relief and judgment, including entry of an order, as follows:

        (a) Declaring that this action is properly maintained as a class action, certifying the
            proposed Class, appointing Plaintiff as Class Representative and appointing
            Plaintiff’s counsel as Class Counsel;

        (b) Directing that Defendant bear the costs of any notice sent to the Class;

        (c) Ordering Defendant to pay restitution to Plaintiff and the Class;

        (d) A jury trial and damages according to proof;

        (e) Awarding actual damages to Plaintiff and the Class;

        (f) Awarding Plaintiff and members of the Class statutory damages, as provided by the
            applicable state consumer protection statutes invoked above;

        (g) Awarding attorneys’ fees and litigation costs to Plaintiff and members of the Class;

        (h) Civil penalties, prejudgment interest and punitive damages as permitted by law; and

        (i) Ordering such other and further relief as the Court deems just and proper.


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                                  JURY TRIAL DEMAND

       Plaintiff hereby demands a jury trial of the claims asserted in this Class Action

Complaint.


Dated: January 27, 2023                              Respectfully submitted,



                                                       /s/ Jason P. Sultzer
                                                      Jason P. Sultzer, Esq.
                                                      Daniel Markowitz, Esq.
                                                      THE SULTZER LAW GROUP P.C.
                                                      85 Civic Center Plaza, Suite 200
                                                      Poughkeepsie, NY 12601
                                                      Tel: (845) 483-7100
                                                      Fax: (888) 749-7747
                                                      sultzerj@thesultzerlawgroup.com
                                                      markowitzd@thesultzerlawgroup.com

                                                      Nick Suciu III*
                                                      MILBERG COLEMAN BRYSON
                                                      PHILLIPS GROSSMAN, PLLC
                                                      6905 Telegraph Road, Suite 115
                                                      Bloomfield Hills, MI 48301
                                                      Tel: (313) 303-3472
                                                      nsuciu@milberg.com

                                                     Gary Klinger*
                                                     MILBERG COLEMAN BRYSON
                                                     PHILLIPS GROSSMAN, PLLC
                                                     221 West Monroe Street, Suite 2100
                                                     Chicago, IL 60606
                                                     Tel: (866) 252-0878
                                                     gklinger@milberg.com

                                                      Erin Ruben*
                                                      MILBERG COLEMAN BRYSON
                                                      PHILLIPS GROSSMAN PLLC
                                                      900 W. Morgan Street
                                                      Raleigh, NC 27603
                                                      T: 919-600-5000
                                                      eruben@milberg.com



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                                         J. Hunter Bryson*
                                         MILBERG COLEMAN BRYSON
                                         PHILLIPS GROSSMAN, PLLC
                                         405 E 50th Street
                                         New York, NY 10022
                                         Tel: (630) 796-0903
                                         hbryson@milberg.com


                                         * Pro Hac Vice application forthcoming

                                         Attorneys for Plaintiff and the Proposed
                                         Class




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